Case 2:06-cr-00422-DWA Document 108 Filed 07/09/20 Page 1 of 3

AO 245D (Rev. 09/19) Judgment in a Criminal Case for Revocations

 

 

 

Sheet 1
UNITED STATES DISTRICT COURT
Western District of Pennsylvania
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. ) (or Revocation of Probation or Supervised Release)
RAYSHAWN MCDONALD

) Case No, 6-422

) USM No. 09696-068

Jay Finkelstein

hi 5
THE DEFENDANT: Defendant’s Attorney
WM admitted guilt to violation of condition(s) 1 of the term of supervision.
C1 was found in violation of condition(s) count(s) after denial of guilt.
The defendant is adjudicated guilty of these violations:
Violation Number Nature of Violation Violation Ended
1 The defendant shall not commit another Federal, state orlocal 04/27/2019
crime.
The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
C1 The defendant has not violated condition(s) and is discharged as to such violation(s) condition.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any |
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances,

Last Four Digits of Defendant’s Soc. Sec. No.: 07/09/2020

 

Date of Imposition of Judgment

hati! & kinkinee,

Defendant’s Year of Birth:

 

City and State of Defendant’s Residence: Signature of Judge

 

Donetta W. Ambrose, Sr. U.S. District Judge

 

Name and Title of Judge

07/09/2020

 

Date
Case 2:06-cr-00422-DWA Document 108 Filed 07/09/20 Page 2 of 3

AO 245D (Rev. 09/19) Judgment in a Criminal Case for Revocations
Sheet 2— Imprisonment

Judgment —- Page 2

DEFENDANT: RAYSHAWN MCDONALD
CASE NUMBER: 6-422

IMPRISONMENT

of

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total

term of :
Time served. Defendant to be released forthwith.

1 The court makes the following recommendations to the Bureau of Prisons:

[1 The defendant is remanded to the custody of the United States Marshal.

O The defendant shall surrender to the United States Marshal for this district:
[1 at [J] am OF pm. on
Las notified by the United States Marshal.

 

C1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

CL] before 2 p.m. on

 

[] as notified by the United States Marshal.

(1 as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
Case 2:06-cr-00422-DWA Document 108 Filed 07/09/20 Page 3 of 3

AO 245D (Rev. 09/19) — Judgment in a Criminal Case for Revocations
Sheet 3 — Supervised Release

Judgment—Page 3 of 3

DEFENDANT: RAYSHAWN MCDONALD
CASE NUMBER: 6-422

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

No term of supervised release is imposed.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from

imprisonment and at least two periodic drug tests thereafter, as determined by the court.
O The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check if applicable)

4, C1 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)

5. XO You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

6. C1 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. CO You must participate in an approved program for domestic violence. (check if applicable)

NR

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
